Case 1:19-cv-02100-ADC Document 33-2 Filed 02/11/20 Page 1 of 7

IN THE U.S. DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Elisa Betz *
Plaintiff *
v. * Case No. 1:19-ev-02100-ADC

Crows Nest Associates, L.L.C. ef al.

=

Defendants. *

 

1.

DECLARATION OF HOWARD B. HOFFMAN

I, Howard B. Hoffman, Esq., am at least 18 years of age and competent to testify, and 1 am
not a party to, or related to a party, in this action. I serve as counsel to the Plaintiff in the
above-referenced matter.

Tam an attorney in private practice, and I concentrate on employment law. From 1999 to
2002, I practiced in two prominent boutique employment law firms representing
management clients. I have been practicing law since December 1999. I am admitted to
the Maryland bar (since 1999), the District of Columbia bar (since 2007), and the Virginia
bar (since 2015), as well as the U.S. Court of Appeals for the Fourth Circuit, the U.S.
District Court for the District of Maryland,! and the U.S. District Court for Eastern District
of Virginia. I have extensive experience prosecuting and defending wage and hour cases
and other employment law cases. I opened my own Firm in 2002. On July 1, 2018, the
practice began operating as Hoffman Employment Law, LLC. I currently employ two

associate attorneys, Jordan S. Liew, Esq. and Scott E. Kraff, Esq.

 

I gained admission to this Court in January 2000.

Page |

  

 
Case 1:19-cv-02100-ADC Document 33-2 Filed 02/11/20 Page 2 of 7

3. ] have maintained time and costs records in this case, which I have placed into
“RocketMatter”© software. The time records set forth as Exhibit 2-A are true and correct
records of time entries inputted on a daily basis and are contemporaneous business records
held in the ordinary course by my private law practice. The time records reflect actual time
expended in the prosecution of this litigation (the “RocketMatter” entries have not been
placed into the Court’s required lodestar billing format). The time incurred is a reasonable
amount, necessarily incurred in order to complete basic objectives in the prosecution of
this matter. The time reflects the number of issues that the Defendants have or could raise
as a defense in this case. I have also, to the fullest extent practical, specified the time spent
per task, and I have avoided the practice of block billing.

4, Through January 28, 2020 (the date of the mediation before the Hon. Beth P. Gesner), I
incurred a minimum of 13.3 hours in this case at $400.00/hour (see below for basis for this
claimed hourly rate), for a total value of $5,320.00. I was generally responsible for all
matters and facets of this case, but principally I was involved in supervision of associate
attorney work (including reviewing and revising pleadings, discovery, etc.), some client
communications, and settlement negotiations issues. The associate attorneys whose time
appears on the invoice are Jordan 8. Liew, Esq. and Scott Kraff, Esq. A minor amount of
time was performed in this case by Timothy J. McGarry, Esq. as a Law Clerk, who is a
2019 praduate of the George Washington University School of Law. Messrs. Liew and
Kraff drafted documents, interviewed and regularly communicated with the client and
opposing counsel, communicated with the expert witness in this case, attended Court-
supervised mediation (Kraff), and filed documents. Mr. McGarry prepared certain

settlement documents. Their recorded time through January 28, 2020 was 14.2 hours for

Page 2

 
Case 1:19-cv-02100-ADC Document 33-2 Filed 02/11/20 Page 3 of 7

Mr. Liew; 22.8 hours for Mr, Kraff, and 1.9 hours for Mr. McGarry. The total fees are
$13,332.00.

. My itemized and reimbursable listed costs in this case are $1,420.00, consisting of an
expert report, the filing fee and service of process charges. I have exercised my discretion
and not included printing, copy, and other charges.

. Therefore, the total fees and costs incurred to date are $14,752.00.

. By accepting $8,000.00 for fees and cost reimbursement to Plaintiff's FLSA claims, I am
therefore discounting (“writing down”) part of our time as it relates to this settlement.
Notably, these fees and costs were negotiated separately and secondarily, and only after
reaching a tentative resolution as to the Plaintiff's recovery.

. In the course of representing businesses and some individuals, I include and bill to my
client any disbursements representing the same costs incurred in this case (e.g., filing fees,
postage, copies, etc.).

. Jam an honors graduate of University of Maryland School of Law (May, 1999), where I
was the recipient of the “Shawe & Rosenthal” employment law prize, and the “Joseph
Bernstein Prize” (for excellence in legal writing). I have been a member of the Maryland
bar since December 1999 and this Court since January 2000. I have been a Contributing
Revisions Editor, Fair Labor Standards Act (BNA/ABA) since 2002. 1 was asked to speak
at a seminar in December 2012, for Maryland Employment Lawyers Association titled
“Bringing Your First FLSA Collective Action: The Guts and Glory Of Overtime Wage
Cases.” I was selected to speak at a Lorman seminar in June 2013 to discuss principles of
law under the FLSA. I have received the honor of being designated a “SuperLawyer’® in

employment law in both Maryland and the District of Columbia (2016-2020).

Page 3

 
10.

Case 1:19-cv-02100-ADC Document 33-2 Filed 02/11/20 Page 4 of 7

As stated, I have extensive experience in prosecuting and defending wage and hour
lawsuits, and that makes me rather uniquely qualified to provide this Declaration. Many
of the well-known reported decisions in the District of Maryland addressing overtime and
minimum wage rights, are cases that I have either prosecuted (represented the employee}
or defended (represented the employer). These notable and widely cited decisions include,
but are not limited to: Rose v. New Day Financial, et al., 816 F.Supp.2d 245, 2011 WL
4103276 (D. Md. Oct. 5, 2011) (Quarles, J.) (represented employer; motion to compel
class-waiver arbitration granted); Chapman et al. v. OQurisman Chevrolet Co.. Inc., 2011
WL 2651867 (D. Md, 2011) (Williams, J.) (representation of employee class in minimum
wage dispute; summary judgment for employer denied); Williams et al. v. ezStorage Corp.,
2011 WL 1539941 (D. Md. Apr. 21, 2011) (Bennett, J.) (conditional certification of FLSA
collective action on behalf of employees); Gionfriddo et al. v. Jason Zink, LLC, etal., 769
F.Supp.2d 880 (D. Md, 2011) (Bennett, J.) (represented employer in FLSA case; granting
motion for decertification); Dorsey et al. v. The Greene Turtle Franchising Corp., 2010 WL
3655544 (D. Md. 2010) (Blake, J.) (represented employees; grant of conditional
certification of FLSA collective action); Williams et_al. v. Long (d/b/a “Charm City
Cupcakes’), 585 F.Supp.2d 679 (D. Md. 2008) (Grimm, J.) (represented employees: grant
of conditional certification of FLSA collective action (widely cited in District); Spencer
vy. Central Services, LLC, et al., Case No. CCB-10-3469, 2012 WL 142978 (D. Md. Jan.
13, 2012) (grant of attorneys’ fees and costs in FLSA case); Dorsey_et al. v, TGT
Consulting, LLC, 888 F.Supp.2d 670, 2012 WL 3629209 (D. Md. Aug. 20, 2012) (Blake,
J.) (holding employee’s earning statements were insufficient to inform employees of

FLSA’s tip credit requirements); Saman y. LDBP, Inc., 2012 WL 5463031 (D. Md. Nov.

 

Page 4

 
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12,

Case 1:19-cv-02100-ADC Document 33-2 Filed 02/11/20 Page 5 of 7

7, 2012) (Chasanow, J.) (dismissal of supplemental state claim of wrongful discharge in
FLSA case). Several of the aforementioned decisions resulted in additional precedent
setting decisions in that same case, although they are not cited here.

Additionally, while I would like to remain modest about my accomplishments in my twenty
(20) years of practice, two of the more frequently cited published decisions involving the
First Amendment rights of law enforcement whistleblowers, decided by the U.S. Court of
Appeals for the Fourth Circuit within the last decade, are cases that I prosecuted on behalf
law enforcement whistleblowers, see, e.¢., Andrew v. Clark, 561 F.3d 261 (4m Cir. 2009)
(representation of law enforcement officer in claim of First Amendment retaliation and due
process), Durham v. Jones, 737 F.3d 291 (4" Cir. 2013) (affirming judgment of judgment
was obtained in the amount of $1,112,200.00 against Somerset County Sheriff; defeating
claims of qualified immunity in First Amendment retaliation case),

Moreover, my work frequently casts me into the spotlight. By way of example, I have been
quoted, or my work has been featured, in the following news articles: “Deputy Gets Powers
Back,” The Maryland Daily Record, Pg. 1A, Aug, 14, 2013; “Tip & Fight; Famed
Baltimore Restaurant Sip & Bite on the Hook for Unfair Labor Practices,” Baltimore City
Paper (“Mobtown Beat column”), Aug. 21, 2013; “Sheriff Owes Deputy $1.1M,” The
Maryland Daily Record, Pg. 1A, December 11, 2013; “Pet Peeve — Outcry Over Baltimore
County Animal Shelter Erupts in Free-Speech Lawsuit,” Baltimore City Paper (“Mobtown
Beat column’), June 4, 2014; “State Courts Can Decide Overtime Disputes, Enhance
Damages,” The Maryland Daily Record, Pg. 1A, Aug. 18, 2014. My Section 1983 work
on behalf of animal advocates in Baltimore County, Fancy Cats Rescue Team, Inc., et al,

y. Baltimore County, Md., et al, BPG 14-1073, gained nationwide attention, See

Page 5

 
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15,

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17,

Case 1:19-cv-02100-ADC Document 33-2 Filed 02/11/20 Page 6 of 7

http://www.chicagotribune.com/lifestyles/pets/ct-pets-shelter-silence-0129-20150129-
story html (“Bredar's decision could have implications around the country.”)

I have not charged (and will not charge) Plaintiff in this case for any of the costs or fees
that have been incurred in this case. No contingency fee is being charged to Plaintiff.

I believe that the recovery here is fair and reasonable. In receiving _x her damages,
in my opinion, the payment of the sums as settlement to Plaintiff, especially with no legal
fees or costs charged to Plaintiff, represents a fair and reasonable resolution to his FLSA
claims, based on my experience handling scores of FLSA cases. Plaintiff has been
involved in the negotiation of this settlement (the settlement occurred in Court-supervised
mediation) and have received a copy of the full settlement agreement. Naturally, Plaintiff
supports the settlement outcome in this case.

Before I began my twentieth year of practice, I received an award of $400/hour in Jackson
etal. v. Egira, LLC, et al., RDB 14-3114, 2016 WL 5815850 (D. Md. Oct. 5, 2016),

T am requesting that the Court value my time at a rate of $400.00 an hour in this case,
although the effective hourly rate is lower as I have discounted our legal fees and costs in
the interest of settlement. This rate is consistent with the revised Lodestar Guidelines
adopted by the U.S. District Court, especially for an attorney who regularly handles
precedent-setting decisions, whose work attracts and receives media attention, and who
regularly speaks on employment law topics, including to fellow attorneys.

Additionally, I am requesting that the Court value the time of my associate attorney Scott
E. Kraff at an hourly rate of $205/hour and value the time of Mr. Liew at $215/hour. J am
also requesting that the Court value the time of Mr. McGarry at a rate of $150/hour. These

rates are consistent with the revised Lodestar Guidelines adopted by the U.S. District Court.

Page 6

 
Case 1:19-cv-02100-ADC Document 33-2 Filed 02/11/20 Page 7 of 7

Messr. Liew and Kraff’s education and work experiences are outlined in their respective
Declarations. Mr. McGarry performed work as a Law Clerk, and while he is no longer
employed with Hoffman Employment Law, LLC, his resume is available upon request. I
believe that the market rate assigned to Messrs. Liew, Kraff, and McGarry are appropriate,
given my own review of associate time in other cases in which I have defended. I believe
that Mr. Liew’s $215/hour rate is appropriate, as he had over one year of experience in this
Law Firm. At this point, Mr. Liew has acquired advanced knowledge and understanding
of the FLSA and litigation generally, and he is performing work more independently and
very efficiently. Therefore, I believe that Mr. Liew is more akin to a mid-level associate
in a management-side practice and should be appropriately valued as such. I am satisfied
with the level of delegation of attorney work to associate attorneys in this case, which
served to keep fees/costs to a minimum.
DECLARANT FURTHER SAYETH NAUGHT
{solemnly affirm under the penalties of perjury that the contents of the foregoing are true

and correct.

Howard B. Hoffman, Esq.
February 11, 2020

Page 7

 
